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                                                                             2025 May-29 PM 04:20
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


BOBBY SINGLETON, et al.,

            Plaintiffs,

             v.                                Case No. 2:21-cv-01291-AMM

WES ALLEN, in his official capacity as            THREE-JUDGE COURT
Alabama Secretary of State, et al.,

            Defendants.

EVAN MILLIGAN, et al.,

            Plaintiffs,

             v.                                Case No. 2:21-cv-01530-AMM

WES ALLEN, in his official capacity as            THREE-JUDGE COURT
Alabama Secretary of State, et al.,

            Defendants.

MARCUS CASTER, et al.,

            Plaintiffs,

             v.                                 Case No.: 2:21-cv-1536-AMM

WES ALLEN, in his official capacity as
Alabama Secretary of State, et al.,

            Defendants.

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:
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         SCHEDULING ORDER FOR REMEDIAL PROCEEDINGS

      These congressional redistricting cases are before the Court for remedial

proceedings. On May 8, 2025, the Court entered its findings of fact, conclusions of

law, and an injunction in connection with a bench trial held in February 2025.

Milligan Doc. 490; Singleton Doc. 324; Caster Doc. 401. The Court noted in its

order that these remedial proceedings were to address “the map(s) Alabama will use

for the rest of this census cycle and the Milligan Plaintiffs’ request for bail-in through

2032 [under Section 3(c) of the Voting Rights Act].” Milligan Doc. 490 at 542. “To

facilitate the timely scheduling of remedial proceedings,” the Court set a status

conference for May 28, 2025 by Zoom. Id. at 16.

      Shortly before the status conference on May 28, 2025, the State filed a

statement concerning remedial proceedings. Milligan Doc. 493; Singleton Doc. 327;

Caster Doc. 404. The State represents in its filing that, subject to its appellate rights,

the Alabama Legislature “will voluntarily forgo any rights that [it] may have to

attempt to draw an additional congressional district map as part of the remedial

proceedings,” and that the State “do[es] not plan to submit any further remedial plan

so long as the Special Master’s Remedial Plan 3 (the ‘Special Master Plan’) remains

in place, thus maintaining the status quo pending any appeal.” Milligan Doc. 493 at

2–3. Senator Steve Livingston and Representative Chris Pringle, in their capacities

as Chairs of the Permanent Legislative Committee on Reapportionment and as


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intervening defendants in these cases, also “represent in good faith that neither they

nor leadership for either chamber of the Alabama Legislature have any intention of

passing any additional congressional district maps before receiving 2030 census

data.” Id. at 3.

       At the May 28, 2025 status conference, the Plaintiffs agreed with the State’s

position that the Special Master Plan should remain in place, the parties represented

that discussions are ongoing regarding a global resolution of these remedial issues,

and the parties agreed to a schedule for these proceedings. Tr. May 28, 2025 Hrg. at

7–9, 13–14. As such, the Court ORDERS as follows:

          1. On or before JUNE 9, 2025, the parties shall file a joint status report

explaining the status of these remedial issues, whether briefing is necessary on the

Milligan Plaintiffs’ application for bail-in under Section 3(c), and whether any party

requests a hearing on remedial issues.

          2. Should the Milligan parties be unable to resolve the issue of bail-in

under Section 3(c), the State shall file its brief about that issue on or before JUNE

16, 2025. The Milligan Plaintiffs shall file their response on or before JUNE 23,

2025, and any reply shall be filed on or before JUNE 27, 2025.

          3. Should the Court determine that a hearing is necessary, the Court will

set that hearing by separate order for July 29, 2025, in Birmingham, Alabama.




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